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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                 Magistrate Judge Craig B. Shaffer

   Civil Action: 14‐cv‐03452‐CMA‐CBS                    Date: December 17, 2015
   Courtroom Deputy: Amanda Montoya                     FTR – Reporter Deck‐Courtroom A402

   Parties:                                             Counsel:

   AKEEM MAKEEN,                                        Pro se

   Plaintiff,

   v.

   STATE OF COLORADO, THE, et al.,                      Cristina Pena Helm
                                                        Patrick Sayas


   Defendant.


                           COURTROOM MINUTES/MINUTE ORDER

   HEARING: MOTION HEARING
   Court in session: 09:13 a.m.
   Court calls case. Appearances of counsel. Ms. Hailey, a note‐taker, is present with the Plaintiff.

   Discussion regarding [118] Plaintiff’s Third Request for Accommodation Under Americans With
   Disabilities Act Pursuant D.C.Colo.L.Civ.R. 83.3 and [119] Plaintiff’s Fourth Request for
   Accommodation Under Americans With Disabilities Act Pursuant D.C.Colo.L.Civ.R. 83.3. Mr.
   Makeen has a note‐taker present with him in court and the court is not entertaining oral
   motions at this hearing. Mr. Makeen should file requests as motions in the future.

   ORDERED:       [114] Plaintiff’s Fifth Motion for Leave to Amend Complaint and [115] Plaintiff’s
                  Fifth Amended Complaint are GRANTED. Doc. [115] is deemed as filed today.

                  [43] State Defendants’ Motion to Dismiss the Second Amended Complaint is
                  DENIED AS MOOT.

                  [54] Plaintiff’s Motion for Summary Judgment Against State is DENIED WITHOUT
                  PREJUDICE.

                  [93] Plaintiff’s Renewed Fourth Motion for Leave to Amend Complaint is DENIED
                  AS MOOT.
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   The court is in the process of completing a recommendation for [60] Corrected Plaintiff’s
   Verified Petition and Application for Temporary Restraining Order and Order to Show
   Cause Why a Preliminary Injunction Should Not Issue and [103] Plaintiff’s Verified
   Emergency Motion for Temporary Restraining Order and Order to Show Cause Why a
   Preliminary Injunction Should Not Issue. The court intends to have this recommendation filed
   by this Friday. The court will recommend that these motions be denied.

   HEARING CONCLUDED.

   Court in recess: 09:27 a.m.
   Total time in court: 00:14

   To order transcripts of hearings please contact Stevens-Koenig Reporting at (303) 988-8470.
